Case 3:23-cv-22385-ZNQ-JTQ   Document 47-2   Filed 02/13/25   Page 1 of 10 PageID:
                                    535




                      Exhibit B
Case 3:23-cv-22385-ZNQ-JTQ             Document 47-2         Filed 02/13/25      Page 2 of 10 PageID:
                                              536



                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



      JOHN DOE,                                          Civil ActionCase No.      Civ.
                                                                (XXX)3:23-cv-22385-ZNQ-
                                                         JTQ

                      Plaintiff,



      v.

      RUTGERS, THE STATE UNIVERSITY OF CONFIDENTIALITY ORDER
      NEW JERSEY,

                      vs. Defendant.



             It appearing that discovery in the above-captioned action is likely to involve the
     disclosure of confidential information, it is ORDERED as follows:

              1.     Any party to this litigation and any non-party providing information in this
     action (hereinafter “non-party”) shall have the right to designate as “Confidential” and subject
     to this Order any information, document, or thing, or portion of any document or thing: (a)
     that contains trade secrets, competitively sensitive technical, marketing, financial, sales or
     other confidential business information, or (b) that contains private or confidential personal or
     personnel information, or (c) that contains information received in confidence from third
     parties, or (d) which the producing party otherwise believes in good faith to be entitled to
     protection under Rule 26(c)(1)(G) of the Federal Rules of Civil Procedure and Local Civil
     Rule 5.3. Any party to this litigation or non-party covered by this Order, who produces or
     discloses any Confidential material, including without limitation any information, document,
     thing, interrogatory answer, admission, pleading, or testimony, shall mark the same with the
     foregoing or similar legend: “CONFIDENTIAL” or “CONFIDENTIAL - SUBJECT TO
     CONFIDENTIALITY ORDER” (hereinafter “Confidential”).

             2.      Any party to this litigation and any non-party shall have the right to designate
     as “Attorneys’ Eyes Only” and subject to this Order any information, document, or thing, or
     portion of any document or thing that contains highly sensitive business or personal
     information, the disclosure of which is highly likely to cause significant harm to an individual
     or to the business or competitive position of the designating party. Designating Party.1 Any
     party to this litigation or any non-party who is covered by this Order, who produces or

 1
  “Designating Party” as used herein means the party or non-party who produces material designated
 as Confidential or Attorneys’ Eyes Only.
Case 3:23-cv-22385-ZNQ-JTQ          Document 47-2          Filed 02/13/25       Page 3 of 10 PageID:
                                           537



   discloses any Attorneys’ Eyes Only material, including without limitation any information,
   document, thing, interrogatory answer, admission, pleading, or testimony, shall mark the
   same with the foregoing or similar legend: “ATTORNEYS’ EYES ONLY” or
   “ATTORNEYS’ EYES ONLY - SUBJECT TO CONFIDENTIALITY ORDER”
   (hereinafter “Attorneys’ Eyes Only”).

           3.      All Confidential and Attorneys’ Eyes Only material shall be used by the
   receiving party solely for purposes of the prosecution or defense of this action, shall not be
   used by the receiving party for any business, commercial, competitive, personal or other
   purpose, and shall not be disclosed by the receiving party to anyone other than those set forth
   in Paragraph 4 with respect to Confidential material, or set forth in Paragraph 6 with respect
   to Attorneys’ Eyes Only material, unless and until the restrictions herein are removed either
   by written agreement of counsel for the parties, or by Order of the Court. It is, however,
   understood that counsel for a party may give advice and opinions to his or her client solely
   relating to the above-captioned action based on his or her evaluation of Confidential and
   Attorneys’ Eyes Only material, provided that such advice and opinions shall not reveal the
   content of such Confidential and Attorneys’ Eyes Only material except as otherwise permitted
   by this Order, including pursuant to Paragraph 4 with respect to Confidential material and
   Paragraph 6 with respect to Attorneys’ Eyes Only material; by prior written agreement of
   counsel for the parties,; or by separate Order of the Court.

           4.     Confidential material and the contents of Confidential material may be
   disclosed only to the following individuals under the following conditions:

                  (a)    Outside counsel (herein defined as any attorney at the parties’ outside
          law firms, which firms have appeared in the action) and relevant in-house counsel for
          the parties;

                  (b)    Outside experts or consultants retained by outside counsel for
          purposes of this action, provided they have signed a non-disclosure agreement in the
          form attached hereto as Exhibit A or such other form as may be agreed by the parties;

                  (c)    Secretarial, paralegal, clerical, duplicating and data processing
          personnel of the foregoing;

                  (d)     The Court and court personnel;

                 (e)    Any deponent may be shown or examined on any information,
          document or thing designated Confidential if it appears that the witness authored or
          received a copy of it, was involved in the subject matter described therein or is
          employed by the party who produced the information, document or thing, or if the
          producing party consents to such disclosure;

                 (f)       Vendors retained by or for the parties to assist in preparing for pretrial
          discovery, trial and/or hearings including, but not limited to, court reporters, litigation
          support personnel, jury consultants, individuals to prepare demonstrative and
          audiovisual aids for use in the courtroom or in depositions or mock jury sessions, as
          well as their staff, stenographic, and clerical employees whose duties and
                                                  2
Case 3:23-cv-22385-ZNQ-JTQ          Document 47-2          Filed 02/13/25       Page 4 of 10 PageID:
                                           538



          responsibilities require access to such materials; and

                    (g)   The parties. In the case of parties that are corporations or other
           entities, “party” shall mean executives, administrators, and/or employees who are
           required to participate in decisions with reference to this lawsuit or are persons
           necessary for the prosecution or defense of this lawsuit.

           5.      Confidential material shall be used only by individuals permitted access to it
   under Paragraph 4. Confidential material, copies thereof, and the information contained
   therein, shall not be disclosed in any manner to any other individual, until and unless (a)
   outside counsel for the partyDesignating Party asserting confidentiality waives the claim of
   confidentiality, or (b) the Court orders such disclosure.

          6.     Attorneys’ Eyes Only material and the contents of Attorneys’ Eyes Only
   material may be disclosed only to the following individuals under the following conditions:

                 (a)     Outside counsel (herein defined as any attorney at the parties’ outside
          law firms, which firms have appeared in the action);

                 (b)      In-house counsel designated in advance of disclosure by the parties who
           are necessary for the prosecution or defense of the action;

                  (c)     Outside experts or consultants retained by outside counsel for
           purposes of this action, provided they have signed a non-disclosure agreement in
           the form attached hereto as Exhibit A or such other form as may be agreed by the
           parties;

                  (d)    Secretarial, paralegal, clerical, duplicating and data processing
          personnel of the foregoing;

                  (e)     The Court and court personnel;

                 (f)     Any deponent may be shown or examined on any information,
          document or thing designated Attorneys’ Eyes Only if it appears that the witness
          authored or received a copy of it, or was employed by the party who produced the
          information, document or thing, or if the producing party or if the Designating Party
          consents to such disclosure;

                (g)        Vendors retained by or for the parties to assist in preparing for pretrial
          discovery, trial and/or hearings including, but not limited to, court reporters, litigation
          support personnel, jury consultants, individuals to prepare demonstrative and
          audiovisual aids for use in the courtroom or in depositions or mock jury sessions, as
          well as their staff, stenographic, and clerical employees whose duties and
          responsibilities require access to such materials; and

                 (h)     To such other persons as counsel for the producing partyDesignating
          Party agrees or as ordered by the Court.


                                                  3
Case 3:23-cv-22385-ZNQ-JTQ           Document 47-2        Filed 02/13/25      Page 5 of 10 PageID:
                                            539



           7.     Attorneys’ Eyes Only material shall be used only by individuals permitted
   access to it under Paragraph 6. Attorneys’ Eyes Only material, copies thereof, and the
   information contained therein, shall not be disclosed in any manner to any other individual,
   until and unless (a) outside counsel for the partyDesignating Party asserting confidentiality
   waives the claim of confidentiality, or (b) the Court orders such disclosure.

           8.      With respect to any depositions that involve a disclosure of Confidential
   material or Attorneys’ Eyes Only material of a party or non-party, such party or non-party
   shall designate the transcript as containing Confidential material or Attorneys’ Eyes Only
   material, or both, during the deposition, or within 5 days thereafter, and may have until thirty
   (30) days after receipt of the deposition transcript within which specifically to inform all
   other parties or non-parties of which portions of the transcript are to be designated
   Confidential or Attorneys’ Eyes Only, which period may be extended by agreement of the
   parties. No such deposition transcript shall be disclosed to any individual other than the
   individuals described in Paragraph 4(a), (b), (c), (d) and, (f), and (g) for Confidential
   material, or Paragraph 6 for Attorneys’ Eyes Only material, and the deponent during these
   thirty (30) days, and no individual attending such a deposition shall disclose the contents of
   the deposition to any individual other than those described in Paragraph 4(a), (b), (c), (d)
   and, (f), and (g) for Confidential material or Paragraph 6 for Attorneys’ Eyes Only material,
   during said thirty (30) days. Upon being informed that certain portions of a deposition are to
   be designated as Confidential, or Attorneys’ Eyes Only, all parties shall immediately cause
   each copy of the transcript in its custody or control to be appropriately marked to clearly
   identify the portions of the transcript that are designated Confidential or Attorneys’ Eyes
   Only and limit disclosure of thatportions of the transcript that are marked as such in
   accordance with Paragraphs 4 and 5 or Paragraphs 6 and 7, respectively.

           9.     If counsel for a party receiving documents or information designated as
   Confidential or Attorneys’ Eyes Only hereunder objects to such designation of any or all of
   such items, the following procedure shall apply:

                  (a)      Counsel for the objecting party shall serve on the designating party or
           non- partyDesignating Party a written objection to such designation, which shall
           describe with particularity the documents or information in question and shall state
           the grounds for objection. Counsel for the designating party or non-partyDesignating
           Party shall respond in writing to such objection within 14 days, and shall state with
           particularity the grounds for asserting that the document or information is Confidential
           or Attorneys’ Eyes Only. If no timely written response is made to the objection, the
           challenged designation will be deemed to be void. If the designating party or
           nonpartyDesignating Party makes a timely response to such objection asserting the
           propriety of the designation, counsel shall then, within 7 days of receipt of the
           response, confer in good faith in an effort to resolve the dispute (“Meet and Confer”).

                  (b)     If a dispute as to a Confidential or Attorneys’ Eyes Only designation
           of a document or item of information cannot be resolved by agreement, the proponent
           of the designation being challenged shall during the Meet and Confer, the
           Designating Party shall, within 7 days of the Meet and Confer, present the dispute to
           the Court initially by telephone or letter, in accordance with Local Civil Rule

                                                  4
Case 3:23-cv-22385-ZNQ-JTQ           Document 47-2        Filed 02/13/25      Page 6 of 10 PageID:
                                            540



           37.1(a)(1), before filing a formal motion for an order regarding the challenged
           designation. The document or information that is the subject of the filing shall be
           treated as originally designated pending resolution of the dispute. If the Designating
           Party does not present the dispute to the Court within 7 days of the Meet and Confer,
           the challenged designation will be deemed to be void.

          10.    Any document designated “Confidential” or “Attorneys’ Eyes Only” by a
   party or non-party and which is to be filed with the Court shall be filed under seal, in
   accordance with Local Civil Rule 5.3.

           11.     If the need arises during trial or at any hearing before the Court for any party
   to disclose Confidential or Attorneys’ Eyes Only material, it may do so only after giving
   notice to the producing partyDesignating Party and as directed by the Court.

           12.    Data Breach. If a party learns that material that party received in discovery
   pursuant to this Confidentiality Order has been the subject of a data breach, that party must
   promptly notify the producing party of the breach, and cooperate with that party to address
   the breach.

           13.     The inadvertent or unintentional disclosure of Confidential or Attorneys’ Eyes
   Only material that should have been designated as such, regardless of whether the information,
   document or thing was so designated at the time of disclosure, shall not be deemed a waiver
   in whole or in part of a party’s or non-party’s claim that it is Confidential or Attorneys’ Eyes
   Only material, either as to the specific information, document or thing disclosed or as to any
   other material or information concerning the same or related subject matter. Such inadvertent
   or unintentional disclosure may be rectified by notifying in writing counsel for all parties to
   whom the material was disclosed that the material should have been designated Confidential
   or Attorneys’ Eyes Only within a reasonable time from discovery of the error. Such notice
   shall constitute a designation of the information, document or thing as Confidential or
   Attorneys’ Eyes Only under this Confidentiality Order.

            14.    The production of any information, document, or thing in this litigation shall
   not constitute a waiver of any attorney-client privilege or work-product protection that may
   be asserted by the producing party either in this case or in any other federal or state
   proceeding. This Order shall be interpreted to provide the maximum protection allowed
   by Federal Rule of Evidence 502(d). When the production or disclosure of any information,
   document, or thing protected by attorney-client privilege or work-product protection is
   discovered by or brought to the attention of the producing party, the treatment of such material
   shall be in accordance with Federal Rule of Civil Procedure 26(b)(5)(B). That treatment shall
   be deemed to comply with any obligations the producing party would otherwise have had
   pursuant to Fed. R. Evid. 502(b) or under the common law. However, nothing herein restricts
   the right of the receiving party to challenge the producing party’s claim of attorney-client
   privilege or work-product protection after receiving notice of the production or disclosure of
   any information, document, or thing that is subject to a claim of attorney-client privilege or
   work-product protection.

           15.    If a non-party serves a party in this action with a request, subpoena, or order

                                                  5
Case 3:23-cv-22385-ZNQ-JTQ           Document 47-2         Filed 02/13/25       Page 7 of 10 PageID:
                                            541



   (“demand”) for disclosure of Confidential or Attorneys’ Eyes Only material, the party
   receiving the demand, if not prohibited under applicable law, shall promptly deliver a copy
   of the demand to the designating party’sDesignating Party’s counsel, and shall notify the
   party who served the request that some or all of the materials sought by the request are subject
   to this Confidentiality Order. The party receiving the demand shall not disclose any
   Confidential or Attorneys’ Eyes Only material prior to the date specified for disclosure,
   or prior to resolution of any dispute regarding production of such material in response to the
   request, whichever is later. In its sole discretion and at its own cost, the designating
   partyDesignating Party may oppose or seek to limit the demand in any legal manner. The
   party who received the demand shall not oppose or otherwise interfere with the designating
   party’sDesignating Party’s actions.

           16.    No information that is in the public domain or which is already known by the
   receiving party through proper means or which is or becomes available to a party from a
   source other than the party asserting confidentiality, rightfully in possession of such
   information on a non- confidential basis, shall be deemed or considered to be Confidential or
   Attorneys’ Eyes Only material under this Confidentiality Order.

           17.    This Confidentiality Order shall not deprive any party of its right to object to
   discovery by any other party or on any otherwise permitted ground. This Confidentiality
   Order is being entered without prejudice to the right of any party to move the Court for
   modification or for relief from any of its terms.

           18.     This Confidentiality Order shall survive the termination of this action and
   shall remain in full force and effect unless modified by an Order of this Court or by the written
   stipulation of the parties filed with the Court.

            19.     Upon final conclusion of this litigation, each party or other individual subject
   to the terms hereof shall be under an obligation to assemble and to return to the originating
   source all originals and unmarked copies ofdestroy all documents and things containing
   Confidential or Attorneys’ Eyes Only material or to destroy all copies of such material that
   contain and/or constitute attorney work product as well as excerpts, summaries and digests
   revealing Confidential or Attorneys’ Eyes Only materialwhich that party or individual did not
   produce themselves; provided, however, that counsel may retain complete copies of all
   transcripts and court filings, including any exhibits attached thereto, for archival purposes,
   subject to the provisions of this Confidentiality Order. To the extent a party requests the return
   of Confidential or Attorneys’ Eyes Only material from the Court after the final conclusion of
   the litigation, including the exhaustion of all appeals therefrom and all related proceedings,
   the party shall file a motion seeking such relief.

        20.        In the event that any party or non-party requests any information, document, or
   thing, or portion thereof that constitutes an “education record,” or that otherwise contains
   Personally Identifiable Information (“PII”) of any current or former Rutgers student, such
   that the requested material is subject to the Family Educational Rights and Privacy Act, 20
   U.S.C. § 1232g, and 34 CFR Part 99 (“FERPA”), and is not otherwise subject to the
   exemptions enumerated under FERPA including but not limited to CFR § 99.31(a)(9)(iii),
   Rutgers shall redact any such requested material prior to production to ensure that the Rutgers

                                                   6
Case 3:23-cv-22385-ZNQ-JTQ           Document 47-2         Filed 02/13/25      Page 8 of 10 PageID:
                                            542



   student(s) or former student(s) who is the subject of the requested material or whose PII is
   contained therein cannot be identified, negating the notice requirements in 34 CFR §
   99.31(a)(9)(ii). In the event that Rutgers is not able to sufficiently redact the requested
   material to protect the identity of the current or former Rutgers student who is the subject of
   the requested material, Rutgers shall, consistent with 34 CFR § 99.31(a)(9)(ii), make a
   reasonable effort to notify the relevant students or former students that (i) information
   pertaining to them is the subject of discovery in this civil action, and (ii) should they wish to
   seek protective action to prevent the production of such information, they may do so
   promptly. No sooner than 14 days after such notices are sent, Rutgers may disclose the
   information or documents without redaction provided it has not received notice of such
   protective action from the relevant students or former students. In order to facilitate the
   production of responsive, non-privileged material related or referring to the Title IX
   complaint brought against Plaintiff involving the individual identified in Plaintiff’s
   Complaint as “Jane Roe,” Rutgers shall, within 5 days of the entry of this Order, provide
   notice to Jane Roe that information pertaining to Jane Roe is the subject of discovery in this
   civil action. The parties shall meet and confer with regard to any disagreements concerning
   discovery material subject to FERPA prior to presenting any such dispute to the Court in
   accordance with the process set forth in Paragraph 9(b).

   IT IS SO ORDERED.



   Dated:

                                                                            , U.S.M.J.




                                                  7
Case 3:23-cv-22385-ZNQ-JTQ              Document 47-2         Filed 02/13/25         Page 9 of 10 PageID:
                                               543



                                              EXHIBIT A



                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

       JOHN DOE,                                           Civil ActionCase No.      Civ.
                                                                  (XXX)3:23-cv-22385-ZNQ-
                                                           JTQ

                      Plaintiff,



       v.

       RUTGERS, THE STATE UNIVERSITY OF CONFIDENTIALITY ORDER
       NEW JERSEY,

                      vs. Defendant.



            AGREEMENT TO BE BOUND BY CONFIDENTIALITY ORDER



  I,                                               , being duly sworn, state that:

             1.   My address is                                                        .

          2.     My present employer is                                                        and     the
  address of my present employment is                                                          .

             3.   My          present        occupation          or         job        description        is

                  .

          4.      I have carefully read and understood the provisions of the Confidentiality Order in this
  case signed by the Court, and I will comply with all provisions of the Confidentiality Order.

           5.       I will hold in confidence and not disclose to anyone not qualified under the
  Confidentiality Order any Confidential or Attorneys’ Eyes Only material or any words, summaries,
  abstracts, or indices of Confidential or Attorneys’ Eyes Only material disclosed to me.

          6.       I will limit use of Confidential or Attorneys’ Eyes Only material disclosed to me solely
  for purpose of this action.

             7.   No later than the final conclusion of the case, I will returndestroy all Confidential or
Case 3:23-cv-22385-ZNQ-JTQ              Document 47-2           Filed 02/13/25    Page 10 of 10 PageID:
                                                544


  Attorneys’ Eyes Only material and summaries, abstracts, and indices thereof which come into my
  possession, and documents or things which I have prepared relating thereto, and provide certification of
  such destruction to counsel for the party for whom I was employed or retained.



  I declare under penalty of perjury that the foregoing is true and correct.




  Dated:                                                                                         [Name]
